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   8
   9                       UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12 MONSTER ENERGY COMPANY, a                 Case No. 5:18-cv-1882-JGB-SHK
     Delaware corporation,
  13                                           APPENDIX A IN SUPPORT OF
                  Plaintiff,                   PLAINTIFF MONSTER
  14                                           ENERGY COMPANY’S
           vs.                                 MOTION FOR PRELIMINARY
  15                                           INJUNCTION
     VITAL PHARMACEUTICALS, INC.
  16 d/b/a VPX SPORTS, a Florida               Judge: Hon. Jesus G. Bernal
     corporation; and JOHN H. OWOC a.k.a.      Date: May 13, 2019
  17 JACK OWOC, an individual,                 Time: 9:00 a.m.
  18              Defendants.
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                       Appendix A: Observations of BANG in Monster Contracted-For Space

      Date          Store        Location          Type of                Picture (if available)   Declaration1
                                                Interference
    4/5/2019      Pit Stop –    Weedsport,      BANG energy                                          Nathan
                  Weedsport       NY              drinks in                                          Nielsen
                                                Monster shelf                                        ¶¶ 4-7
                                                  in cooler




1
    This column refers to the declarations of the listed individuals, filed herewith.
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                  Appendix A: Observations of BANG in Monster Contracted-For Space

  Date          Store      Location        Type of               Picture (if available)     Declaration1
                                        Interference
3/21/2019    Lehigh Gas    Dunmore,     BANG energy                                          Bob Samela
              (Dunne         PA           drinks in                                            ¶¶ 4-5
              Manning                   Monster shelf
               store)                     in cooler




3/19/2019     Walmart    El Paso, TX    BANG energy                                              Mario
             Supercenter                  drinks on                                              Chavez
                5717                    Monster’s side                                           ¶¶ 4-5
                                          of shared
                                           cooler




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                  Appendix A: Observations of BANG in Monster Contracted-For Space

  Date          Store       Location        Type of               Picture (if available)    Declaration1
                                         Interference
3/18/2019     Walmart      Columbia,     BANG energy                                              Robert
             Supercenter      SC           drinks on                                             Johnson
                1339                     Monster side                                             ¶¶ 6-7
                                          of Monster-
                                           Red Bull
                                             cooler



3/12/2019     Walmart       Eastlake,    BANG energy                                           Tim
             Supercenter      OH           drinks on                                         Constable
                1863                     Monster side                                         ¶¶ 4-5
                                          of Monster-
                                           Red Bull
                                             cooler




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                 Appendix A: Observations of BANG in Monster Contracted-For Space

 Date          Store       Location        Type of               Picture (if available)    Declaration1
                                        Interference
3/7/2019      Walmart     Princeton,    BANG energy                                             Courtney
             Store 3102      MN           drinks on                                             Algama
                                        Monster side                                             ¶¶ 4-5
                                         of Monster-
                                          Red Bull
                                            cooler




3/5/2019      Circle K    Trenton, MI   BANG energy                                          William
               6313                       drinks in                                          Charles
                                        Monster shelf                                       Hamby III
                                          in cooler                                          ¶¶ 4-5




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                  Appendix A: Observations of BANG in Monster Contracted-For Space

  Date          Store       Location        Type of               Picture (if available)    Declaration1
                                         Interference
3/5/2019      Walmart       Rosedale,    BANG energy                                             Matthew
             Supercenter      MD           drinks on                                             Boccia
                3489                     Monster side                                             ¶¶ 6-8
                                          of Monster-
                                           Red Bull
                                             cooler




2/28/2019     American     Portland, MI BANG energy                                              Meghan
              Gas & Oil                   drinks in                                              Higbie
                                        Monster shelf                                            ¶¶ 4-5
                                          in cooler




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                  Appendix A: Observations of BANG in Monster Contracted-For Space

  Date          Store       Location        Type of               Picture (if available)    Declaration1
                                         Interference
2/27/2019      Walmart     Manchester,   BANG energy                                         Anthony
              Store 1891      CT           drinks on                                         Cekovsky
                                         Monster side                                         ¶¶ 4-5
                                          of Monster-
                                           Red Bull
                                             cooler




2/27/2019     Walmart      Tucson, AZ    BANG energy                                              Ashley
             Supercenter                   drinks in                                             Bingham
                5626                        shared                                                ¶¶ 4-5
                                         Monster-Red
                                          Bull cooler




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                  Appendix A: Observations of BANG in Monster Contracted-For Space

  Date          Store       Location    Type of                   Picture (if available)    Declaration1
                                     Interference
2/26/2019     Walmart Ellicott City, BANG energy                                                 Matthew
             Supercenter   MD          drinks on                                                  Boccia
                2412                 Monster side                                                ¶¶ 12-13
                                      of Monster-
                                       Red Bull
                                         cooler




2/26/2019     Walmart      Springfield,   BANG energy                                            Samantha
             Supercenter       OH           drinks on                                             Lodde
                3641                      Monster’s side                                          ¶¶ 6-7
                                            of shared
                                             cooler




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                  Appendix A: Observations of BANG in Monster Contracted-For Space

  Date          Store       Location        Type of               Picture (if available)    Declaration1
                                         Interference
2/26/2019      Walmart     Zanesville,   BANG energy                                              James
                3581          OH           drinks on                                             O’Brien
                                         Monster’s side                                           ¶¶ 8-9
                                           of shared
                                             cooler




2/25/2019     Walmart       Rosedale,    BANG energy                                             Matthew
             Supercenter      MD           drinks on                                             Boccia
                3489                     Monster side                                             ¶¶ 6-8
                                          of Monster-
                                           Red Bull
                                             cooler




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                Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store      Location        Type of               Picture (if available)       Declaration1
                                      Interference
2/25/2019    Walmart    Nottingham,   BANG energy                                            Matthew
            Supercenter     MD          drinks on                                             Boccia
               2045                   Monster side                                           ¶¶ 10-11
                                       of Monster-
                                        Red Bull
                                          cooler




2/25/2019    Walmart    Findlay, OH BANG energy                                              Samantha
            Supercenter               drinks on                                               Lodde
               1718                 Monster’s side                                            ¶¶ 4-5
                                      of shared
                                       cooler




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                 Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store        Location         Type of              Picture (if available)     Declaration1
                                         Interference
2/20/2019    Big Red      Little Rock,   BANG energy                                           Aaron
               116             AR          drinks in                                          Cheney
                                         Monster space                                        ¶¶ 9-10
                                           in cooler




2/20/2019    Walmart      Boonville,     BANG energy                                          Hannah
            Supercenter     MO             drinks on                                           Nelson
               820                       Monster’s side                                       ¶¶ 4, 6-8
                                           of shared
                                            cooler




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                 Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store        Location       Type of                Picture (if available)     Declaration1
                                        Interference
2/15/2019    Walmart      Fulton, NY    BANG energy                                          Michael
            Supercenter                   drinks in                                          Krajacic
               3332                     Monster-Red                                           ¶¶ 4-5
                                         Bull shared
                                           cooler




2/15/2019    Walmart       Oswego,      BANG energy                                          Michael
            Store 1926       NY           drinks on                                          Krajacic
                                        Monster’s side                                        ¶¶ 6-7
                                          of shared
                                           cooler




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                 Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store        Location        Type of               Picture (if available)     Declaration1
                                        Interference
2/15/2019    Walmart       Hinsdale,    BANG energy                                           Steven
            Supercenter      NH           drinks on                                           Castle
               1907                     Monster’s side                                        ¶¶ 4-5
                                          of shared
                                            cooler




2/14/2019    Walmart      North East,   BANG energy                                          Matthew
            Supercenter      MD           drinks on                                          Boccia
               5450                     Monster side                                          ¶¶ 4-5
                                         of Monster-
                                          Red Bull
                                            cooler




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                 Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store        Location        Type of               Picture (if available)     Declaration1
                                        Interference
2/14/2019    Walmart      Boonville,    BANG energy                                           Hannah
            Supercenter     MO            drinks on                                           Nelson
               820                      Monster’s side                                        ¶¶ 4-6
                                          of shared
                                            cooler




2/12/2019    Walmart    Seaford, DE     BANG energy                                         Gerald Kirby
            Supercenter                   drinks on                                            ¶¶ 4-5
               2460                     Monster’s side
                                          of shared
                                           cooler




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                 Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store        Location        Type of               Picture (if available)     Declaration1
                                        Interference
2/6/2019     AM PM        Sacramento,   BANG energy                                            Steve
              83191           CA          drinks in                                           Landry
                                        Monster shelf                                         ¶¶ 8-9
                                          in cooler




2/4/2019     Walmart       Mustang,     BANG energy                                           Daniel
            Supercenter      OK           drinks on                                           Hoepfer
               517                      Monster side                                           ¶¶ 4-5
                                         of Monster-
                                          Red Bull
                                            cooler

1/24/2019    AM PM           West       BANG energy                                            Steve
              5731        Sacramento,     drinks in                                           Landry
                              CA        Monster shelf                                         ¶¶ 6-7
                                          in cooler




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                Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store      Location         Type of              Picture (if available)       Declaration1
                                       Interference
1/17/2019    AM PM      Culver City,   BANG energy                                            Gerardo
              82856         CA           drinks in                                              Rico
                                       Monster shelf                                           ¶¶ 4-6
                                         in cooler




1/17/2019    AM PM      Studio City,   BANG energy                                            Gerardo
              82708         CA           drinks in                                              Rico
                                       Monster shelf                                           ¶¶ 7-8
                                         in cooler




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                 Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store        Location       Type of                Picture (if available)     Declaration1
                                        Interference
1/15/2019    Walmart      Columbia,      BANG on a                                             Robert
            Supercenter      SC          shelf in the                                         Johnson
               4506                       Monster                                              ¶¶ 4-5
                                        shared cooler
1/15/2019    AM PM        Woodland,     BANG energy                                         Brian Silva
              81691         CA            drinks in                                           ¶¶ 4-6
                                           shared
                                        Monster-Red
                                         Bull cooler




1/15/2019    AM PM        Woodland,     BANG energy                                         Brian Silva
              82639         CA            drinks in                                           ¶¶ 7-9
                                        Monster shelf
                                          in cooler




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                Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store      Location        Type of               Picture (if available)       Declaration1
                                      Interference
1/14/2019    AM PM      Orangevale,   BANG energy                                           Brian Silva
              82530        CA           drinks in                                            ¶¶ 12-13
                                      Monster shelf
                                        in cooler




1/9/2019     AM PM       Roseville,   BANG energy                                           Brian Silva
              81757        CA           drinks in                                            ¶¶ 10-11
                                      Monster shelf
                                        in cooler




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                  Appendix A: Observations of BANG in Monster Contracted-For Space

  Date         Store        Location         Type of              Picture (if available)     Declaration1
                                          Interference
11/30/2018    Circle K     Elk River,    BANG energy                                           Charley
              2655291         MN            drinks in                                          Boyum
                                            Monster                                             ¶¶ 6-7
                                         espresso space
                                            in cooler




11/14/2018    Walmart      Miami, FL     BANG energy                                         Jesus Bobe
             Supercenter                   drinks on                                           ¶¶ 4-5
                3397                     Monster side
                                          of Monster-
                                           Red Bull
                                             cooler




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                Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store      Location         Type of              Picture (if available)       Declaration1
                                       Interference
11/9/2018   Circle K     Elk River,    BANG energy                                            Charley
            2656228         MN           drinks in                                            Boyum
                                       Monster shelf                                           ¶¶ 4-5
                                         in cooler




11/9/2018    Circle K   O’Fallon, IL   BANG energy                                            Lauren
              1348                       drinks in                                            Milliano
                                       Monster shelf                                           ¶¶ 4-5
                                         in cooler




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                  Appendix A: Observations of BANG in Monster Contracted-For Space

  Date         Store        Location        Type of               Picture (if available)     Declaration1
                                         Interference
11/7/2018     Walmart       Conway,      BANG energy                                           Aaron
             Supercenter      AR           drinks on                                           Cheney
                 5                       Monster’s side                                        ¶¶ 6-7
                                           of shared
                                             cooler



11/7/2018     Walmart       Conway,      BANG energy                                           Aaron
             Supercenter      AR           drinks on                                           Cheney
                 5                        Monster’s                                            ¶¶ 6, 8
                                          warm shelf
                                             space



10/24/2018    Duke &       Columbus,     BANG energy                                            James
              Duchess         OH           drinks in                                           O’Brien
              Shoppe                     Monster shelf                                          ¶¶ 4-5
               1615                        in cooler




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                 Appendix A: Observations of BANG in Monster Contracted-For Space

  Date         Store      Location          Type of             Picture (if available)       Declaration1
                                         Interference
10/24/2018    Duke &     Columbus,       BANG energy                                            James
              Duchess       OH             drinks in                                           O’Brien
              Shoppe                     Monster shelf                                          ¶¶ 6-7
               1630                        in cooler




10/22/2018   Circle K    Collinsville,   BANG energy                                           William
              1355            IL           drinks in                                           Merritt
                                         Monster shelf                                         ¶¶ 4-5
                                           in cooler




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                Appendix A: Observations of BANG in Monster Contracted-For Space

  Date        Store      Location         Type of              Picture (if available)       Declaration1
                                       Interference
9/27/2018    Big Red    Little Rock,   BANG energy                                            Aaron
               134           AR          drinks in                                            Cheney
                                       Monster shelf                                          ¶¶ 4-5
                                         in cooler




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